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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT TACOMA

 

 

 

 

STEVEN C. CLIFT,
Plaintiff, NO. C16-5116 BHS
Vv.
UNITED STATES of AMERICA PLAINTIFFS SECOND AMENDED
Defendant.
Plaintiff, STEVEN C. CLIFT, pro se, amends his Complaint as authorized by the Court’s

July 5, 2016 Order (Dkt. 18), and alleges:

PARTIES

1. Plaintiff Steven C. Clift “Mr. Clift”) is a natural person who resides at 11220 —
89"" Ave. Ct. East, Puyallup, Washington 98373.

2. Defendant United States of America (“Defendant”) is a governmental entity
which controls the Internal Revenue Service (“IRS”). Defendant is responsible for the actions
and omissions of the IRS. Defendant is the proper defendant for claims against the IRS. Upon
information and belief, Defendant maintains offices through the US Attorney at 700 Stewart
Street, Suite 5220, Seattle, Washington 98101 or 1201 Pacific Avenue, Suite 700, Tacoma,
Washington 98402.

PLAINTIFF’S SECOND AMENDED COMPLAINT STEVEN C. CLIFT
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PUYALLUP, WA 98373
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JURISDICTION & VENUE
3. The above-entitled Court has original subject matter jurisdiction over this action
pursuant to 28 U.S.C. § 1331 and § 1346.
4. The above-entitled Court has personal jurisdiction over the Defendant.

5. Venue is proper in the above-entitled Court pursuant to 28 U.S.C. § 1391(b), asa
substantial part of the events or omissions giving rise to the claims occurred within the Western
District of Washington.

FACTS

6. Mr. Clift filed federal income tax returns for approximately 1995 through 2008.
The Defendant, through its IRS, declared some or all of these returns to be “frivolous” under 28
U.S.C. § 6702.

7. Defendant, through its IRS, levied the Social Security Administration and seized
Mr. Clift’s retirement benefits. The amount seized is greater than the amount authorized by law
which is a violation under § 7433 and 26 USC 6331(h). Exhibit 1.

8. The question of statute of limitations running is resolved with claims being made
with Plaintiff's letter of May 31, 2008 mailed certified and received June 10, 2008. Taxpayer
argued the point concerning the frivolous returns within the timeframe of the statute because the
first time the issue of frivolous returns really came up were in form letters (form letter 3176)
dated May 2008. Exhibit 2

9. Another administrative claim was made. Exhibit 3 is a letter to IRS on
September 25, 2009 which sets out this claim under 26 USC § 7433. There is no evidence that
the IRS ever responded to that claim, which is a continuing claim. Failure to respond to the
claim is generally tantamount to an agreement; but in any case it was made and time exhausted
the opportunity for the IRS to claim failure to exhaust the administrative claim process. There

may be an argument about how the claim was made and that it may not have been in the normal

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course of events that would be done by an experienced tax law attorney. On or about February
18, 2014, Mr. Clift filed an administrative claim for damages under 26 U.S.C. § 7433. The
claim was appropriately served via certified mail on the Area Director of IRS, the Treasury
Inspector General for Tax Administration, and the IRS Chief Counsel, among others. Despite
receiving the administrative claim, the IRS failed to respond to the claim again. No argument
by counsel for IRS as to the fact that such claim was made.

10. The term “frivolous” is a statutorily defined legal term, created by 26 USC 6702.
To declare a return “frivolous” is to assert that it explicitly meets all of the conditions laid out in
that statute to be “frivolous”. It will be quite easy to demonstrate that plaintiff's returns are
proper under the law and that, as such, these returns, whether claiming a refund or not, do not
meet the statutory definition of “frivolous”. The standards to determine “frivolous returns” are
set out at Exhibit 4.

11. Now tying the issue of “frivolous” into a violation of law and grounds for this
complaint, one must understand fully that simply making the decision without following the
rules, allows unjust collection or levy against the taxpayer which gives rise to a violation of the
“unauthorized collection actions under § 7433. It allows the IRS to levy more than allowed under
IRC § 6331(h)(2)(A). In this case from the proper 15% to 100% (in excess of $80,000 todate).
We find a disagreement with counsel that a taxpayer must prove the IRS did not follow the
prescribed methods of procuring assets. The burden of proof as stated in §6703 states: “any
proceeding involving the issue of whether or not any person is liable for penalty under §6702,
the burden of proof with respect to such issue shall be on the Secretary.” The Secretary has not
sustained that burden, nor ever responded to an administrative claim.

12. So once plaintiff has made the allegation that the determination of frivolous

returns was improper, the burden shifts to the secretary to give ample evidence that all of the

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requirements under the IRS rules and regulations have been met. In this particular case plaintiff
absolutely pleads that there were never any allegations or documentation explanations of why
the returns were determined to be frivolous; only that the returns were frivolous made in a
vacuum. Please see Exhibit 2 letter dated September 25, 2009.

13. The only issue we are looking at under §7433 is whether this is an “improper
assessment” or an “improper collection activity”. We are not arguing there is an improper
assessment; we are arguing that there was and continues to be an improper collection practice.
To borrow language from the Shaw case, (Shaw v US 20 F3rd. 182 (1994)) which states,
interalla,a taxpayer may sue the government only if “in connection with any collection of
federal tax and with respect to a collection practice, any officer or employee of the IRS
recklessly or intentionally disregards any provision of this title or any regulation promulgated
under this title that...” 26 USC §7433 (a). The allegation is simply that the IRS did engage in
“amproper collection procedures” in violation of § 7433 and thus there is a claim and authority
to sue the government.

14. The single issue that the plaintiff wants this court to rule on is whether or not the
failure to follow the correct procedures to make the determination that a tax return is “frivolous”
has recklessly or intentionally disregarded the provision of the IRS code or its regulations
thereunder that set out how and what is a “frivolous” return. The IRS stated to the taxpayer “we
have determined that the information you filed as a return of a tax or purported return on June
11, 2007 is “frivolous” and there is no basis in the law for your position”. Under IRS § 6703 --
rules applicable to penalties under sections....6702 (frivolous return) we find “the burden of
proof in any proceeding involving the issue of whether or not any person is liable for penalty
under section... 6702, the burden of proof with respect to such issue shall be on the

government.”

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15. Plaintiff desires this matter will go before the court with a Declaratory Judgment
action to make a determination if in fact: “any officer or employee of the Internal Revenue
Service recklessly or intentionally disregards any provision of the title this title or any
regulation promulgated under this title”. If then in fact, it is found that such is the case, then this
title of “frivolous” goes away and the claim for reimbursement of the Social Security funds
which have been erroneously levied are returned and the levy if any such should remain, will
not exceed the 15%. The fight for any past due taxes if any should exist or any refunds for taxes
paid should exist will be fought out in court all of the penalties and interest and costs allocated
to the “frivolous” returns will be withdrawn. And such reduction will require the agency to

revise its collection statement.

CAUSES OF ACTION

1. CLAIM FOR DAMAGES
16.  Defendant’s actions, through its IRS and its employees acting in the course and
scope of their employment, constitute unlawful polices, practices, or acts. These actions also
deprive Mr. Clift of protections granted under the United States Constitution, including without
limitation due process of law. Mr. Clift has been damaged by these actions, including loss of
social security benefits and the “frivolous” tax return invalid determination has damaged his

reputation and credit. Mr. Clift is entitled to relief pursuant to 26 U.S.C. § 7433.

2. CLAIM FOR REFUND
17. Defendant’s actions, through its IRS and its employees acting in the course and
scope of their employment, resulted in social security funds erroneously or illegally collected,
and penalties collected without authority. These sums were also excessive and wrong-fully

collected. Mr. Clift is entitled to a repayment of excess funds levied.

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REQUESTED RELIEF

Mr. Clift respectfully requests the Court:

Grant Judgment in his favor;

Award damages;

Order Defendant to refund unlawfully collected amounts or other restitution;
Order injunctive relief necessary;

Declare that IRS illegally levied against social security benefits in excess of 15%;

Award fees and costs as authorized by statute, contract, or equitable basis; and

aA YF YN

Grant such other relief the Court deems just and equitable.

Respectfully submitted this 7 May of November, 2016.

 

STEVEN C. CLIFT
Plaintiff

11220 — 89" Ave. Ct. East
Puyallup, WA 98373
253-312-8826

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EXHIBIT 1

 
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EXHIBIT 1

The following is an excerpt from the Internal Revenue Manual concerning the Automated Levy
Programs. It is quite clear that this document is the “rule” the IRS agents must take and abide by
under the continuing levy on certain payments which specifically include levies on Social Security.
This is authorized by 26 U.S.C. § 6331 (h) . Subsection a of that code provision is a general
provision for levies; subsection H is a specific levy issue for Social Security which takes superior
position over that of the general subsection a. We agree with the court’s footnote #4 on page 8 of

said order.
5.11,7.2,.1 (09-23-2016)

Levy Authority and Background
1 IRC§ 6331(h), Continuing levy on certain payments, as prescribed by the Taxpayer Relief Act of
1997 (Public Law 105-34) Section 1024, authorizes the IRS to issue continuous levies on
payments referred to as "specified payments."

2. The FPLP was developed as the automated means intended to administer this law; therefore, no
paper levy documents (Form 668-A or Form 668-W) should be served to effectuate a levy under
this statute. The federal agencies participating in this automated levy program process
understand how this levy statute is administered and that the service of a paper levy document
is the means of levy intended under IRC§ 6331 (a) and/or (e).

3. The law allows up to fifteen percent (15%) of Specified payments to be levied. Specified payments
under IRC’ § 6331(h)(2)(A) include any federal payment other than a payment for which
eligibility is based on the income and/or assets of a payee. Specified payments, under IRC §
6331 (h)(2)(C), includes any annuity or pension under the Railroad Retirement Act, or benefit
under the Railroad Unemployment Insurance Act. The payments subject to 15% in the FPLP
are discussed in the next section. IRM 5.11,7.2.1.1. IRS/BFS Interagency Agreement - Federal
Payments Subject to the FPLP.

IRC § 6331(h)(3) allows an increase of this continuous levy for up to one hundred percent (100%) of any
specified payment due to a vendor of property, goods or services sold or leased to the Federal

government. The 100% levy increase is incorporated into the FPLP for federal contractor/vendor

payments. IRM 5.11.7.2.1.1. IRS/BFS Interagency Agreement - Federal

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Exhibit 1
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EXHIBIT 2

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“+. Casé 3:16-cv-05116-BHS Document 29 Filed 11/04/16 Page 10 of 25
CERTIFIED MAIL 7008 0150 0002 1975 0104

To: Internal Revenue Service May 31, 2008
Attn.: Dennis Parizek
1973 North Rulon White Blvd.
Ogden, UT 84404-0040

RE: Letters 3176, Dated May 19, 2008
Years 1995, 1996, 1997, 2003(copies attached)
TIN XXX-XX-XXXX

NOTE: THIS LETTER IS TIME SENSITIVE AND REQUIRES
IMMEDIATE ATTENTION AND ACTION.

Dear Mr. Parizek

I am writing in response to Four (4) Form Letters 3176 dated May 19,2008 mailed under
your name, Dennis Parizek, in which you are listed you as the “Person to Contact”.

T realize that someone in your office has actually mailed the letters, all in one envelope,
and not certified, just regular every day mail, however you are still responsible for these
letter and have approved of their use.

Firstly, I want to thank you Mr. Parizek for providing to me additional written evidence
of continuing IRS dereliction of duty, fraud, malfeasance and obfuscation. Your Letter
3176 reinforces the already voluminous evidence I have accumulated over the past 13+
years which clearly demonstrates that the IRS refuses to abide by the laws of this country
and that employees of the IRS persist in committing crimes against me under the color of
law. This will now include YOU, should you choose to ignore this demand letter and fail
to act in accordance with the laws. All of these documents will come in very handy
should I be required to initiate legal proceedings against you, personally, the other IRS
employees who have conspired and abetted in these crimes against me. Whether that
will be required or not is now up to you. You can either choose to abide by the law and
process my legitimate demand for refunds of overpayments for the years in question, or
we will litigate.

Let us start by saying that I found it almost comical that this Letter 3176 would state that:

“we have determined that the information you filed as a return of tax, or purported return
of tax, on 06/11/2007 is Frivolous and there is no basis in the law for your position.”

I am not surprised that the IRS would raise such a claim. In fact, I expected it as yet
another desperate attempt by the IRS to evade the law and to ignore indisputable
evidence that may happen to be contrary to its arbitrarily predetermined position.

Since the IRS has explicitly acknowledged the receipt of the returns with the issuance of
Form 3176, I will refer you back to the returns if you have any question as to the amounts
of overpayments that have been validated and substantiated therein.
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It has now been 11 months since my returns were received by the IRS. I firmly
believe that any sane person and competent legal authority would agree that the IRS has
had plenty of time to process my returns and issue the refunds for my overpayments as
substantiated by those returns. Now, I see the IRS attempting to evade the law by simply
choosing to disregard the evidentiary content of my legitimate, legal filings.

As for the specific content of the Letter 3176, it is fraught with inaccuracies and
inconsistencies including, but not limited to, the following:

Under the Heading “Why We Are Contacting You”

You state,
“we have determined that the information you filed as a return of tax, or purported
return of tax is frivolous and there is no basis in the law for you position.”

May I remind you that the term “frivolous” is a statutorily defined legal term, created by
26 USC 6702. To declare a return “frivolous” is to assert that it explicitly meets ALL of
the conditions laid out in that statute. It would be quite easily demonstrated that my
returns were proper under the law and that, as such, these proper tax returns — whether
claiming a refund or not —- do NOT meet the statutory definition of “frivolous” (which
can be summarized as “self-contradictory”). I do find it quite revealing, however, that
nowhere in this Letter 3176 does it explicitly state or infer that the underlying tax
returns themselves, to which this form letter applies, are frivolous. Therefore, the
assertion of any 6702 violation seems quite indefensible even though the burden of proof
for such defense clearly lies with the IRS:

Sec. 6703 — Rules applicable to penalties under sections....6702 (frivolous
return)

(a) Burden of proof
In any proceeding involving the issue of whether or not
any person is liable for a penalty under section 6700, 6702,
or 6702, the burden of proof with respect to such issue
shall be on the Secretary.

It also seems very clear that you, Mr. Parizek, have chosen to make such an arbitrary
characterization of a legitimate evidentiary filing as a pretext for failing to incorporate the
evidence contained in that filing into the IRS’ due process. Therefore, it seems that the
IRS is thereby attempting to make the content of my testimony the issue here. This
would seem to be an attempt on behalf of the IRS to defeat the statutory structure in
which the overall revenue law operates in consistency with which structure the legal
definition of “frivolous” is confined to purely mechanical aspects of my presentations of
testimony. The determination of whether a return is “frivolous” extends solely to the
question of whether a return constitutes a valid, cognizeable affidavit under the normal
and logical standards by which such documents are judged — that is, neither contradicting
itself, nor lacking some information upon which some something appearing on the
affidavit itself purports to be based. It is not the rightness or wrongness of my filings that
is at issue here. What is directly at issue is the IRS’s seeming refusal to take official
notice of my legal and legitimate assertions and to incorporate those assertions into it’s
calculations. This is continuing evidence of denial of my due process under the color of
law, among other criminal offenses.
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You state:

“Your information reflects a desire to delay or impede the administration of federal tax
laws.”

I completely reject your attempt to classify my legal, legitimate filing of accurate tax
returns as a desire to delay or impede any law.” No such desire was ever put forth or
inferred by me then or now and the insinuation that any information provided by me is a
willful misrepresentation of the facts. The facts are that I simply and accurately filed my
tax returns based on the law as it is written and, therefore, I expect my returns to be
honored and processed according to those laws. Nothing more and nothing less will be
expected or tolerated.

Further more I have not taken any position as you indicated in your letter, I have only
followed the law as it is written and filed a 1040 as required for a return of my money. I
completely reject your attempt to classify my legal, legitimate filing of accurate tax
returns as a “position”. No such argument was ever put forth or inferred by me then or
now and the insinuation that any such “position” was raised by me is a willful
misrepresentation of the facts. The facts are that I simply and accurately filed my tax
returns based on the law as it is written and, therefore, I expect my returns to be honored
and processed according to those laws. Nothing more and nothing less will be expected
or tolerated.

Under your heading “What you Need To Do”
- Your letter goes on to state:

“Send us corrected return(s) for the taxable period(s) within 30 days of this letter. If you
send us corrected return(s), we will disregard the previous document(s) filed and not
assess the frivolous tax submissions penalty to each correct return filed.”

This seems to be a overt attempt on your behalf to coerce me into changing my
testimony...... written testimony that I submitted under penalty of perjury the content of
which are absolutely true and correct as to every material matter under the law as it is
written. This seems to be a clear attempt at subornation of perjury on behalf of the IRS
and its employees, to which you are now a party and accessory. You and your
employer may want to reconsider this position very carefully. I direct your attention to:

Title 18, Section 1512: Tampering with a witness, victim, or an informant
(b) Whosoever knowingly uses intimidation, threatens, or corruptly
persuades another person, or attempts to do so, or engages in
misleading conduct toward another person, with intent to-

(1) influence, delay, or prevent the testimony of any person in an
official proceeding;
(2) cause or induce any person to —
(A) withhold testimony, or withhold a record, document, or other
object from an official proceeding......

It is clear to me that the IRS may not understand who it is dealing with. I can assure you
that I DO know the tax law. I have researched it and studied it very thoroughly and very
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carefully. My returns were filed in complete accordance with the tax law as it is written.
Furthermore, there is a vast (and rapidly growing) body of evidence in the public domain
to substantiate that the bases upon which my returns were completed are thoroughly valid
and legal and that similar testimony has been acknowledged, accepted and upheld by the
IRS (and other taxing agencies) in hundreds upon hundreds of other cases. I would
welcome the opportunity to introduce such evidence, including the testimony of swom
witnesses, into any official proceedings that may be required in the future. All these
things considered, it seems that it is YOU and the IRS that may need a refresher on the
law.

I can assure you that I will never be cowed or intimidated by the brazen threats,
intimidation tactics and continuing willful disregard for the law on the part of the IRS. I
should not have to remind you or any other IRS employee that my claims for refunds of
overpaid taxes are well within the provisions of the Code and the statutes behind them.
Since you have not actually challenged or disputed my claims, seem disinclined to even
make the attempt to do so, and appear to have no lawful authority under which to do so in
any event, no meaningful occasion for supporting your position has arisen or can even be
remotely inferred. Nonetheless, I will observe in that regard — and for your edification as
well — that the laws reflected at 26 USC 6401(b)(1) and (c) state:

(b) Excessive credits
(1) In general
If the amount allowable as credits under subpart C of part IV of subchapter A of chapter 1 (relating
to refundable credits) exceeds the tax imposed by subtitle A (reduced by the credits allowable under
subparts A, B, D, and G of such part IV), the amount of such excess shall be considered an

overpayment,

and:

(c) Rule where no tax liability
An amount paid as tax shall not be considered not to constitute an
overpayment solely by reason of the fact that there was no tax liability in
respect of which such amount was paid.;

that the “Subpart C of part IV of subchapter A of chapter 1”, to which 6401(b)(1) refers
is:

Sec. 31 — Tax withheld on wages
(a) Wage withholding for income tax purposes
@) In general
The amount withheld as tax under chapter 24 shall be allowed to
the recipient of the income as a credit against the tax imposed by this
subtitle.;

and that the language of 26 USC 6402(a) relevantly states rather unambiguously that:

(a) General rule
In the case of any overpayment, the Secretary, within the allowable period of limitations,
may credit the amount of such overpayment, including any interest allowed thereon, against
any liability in respect of an internal tax on the part of the person who made the overpayment
and shall, subject to subsections (c), (d), and (e), refund any balance to such person.

That said, I further remind you, also for your edification, that 26 USC 7214(a) clearly
states:
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(a) Unlawful acts of revenue officers or agents

Any officer or employee of the United States acting in connection with any revenue law of

the United States —

@) who is guilty of any extortion or willful
oppression under color of law; or

(2) who knowingly demands other or greater sums than are authorized by law, or
receives any fee, compensation or reward, except as by law prescribed, for the
performance of any duty; or

@G) who with intent to defeat the application of any provision of this title fails to
perform any of the duties of his office or employment:

Shall be dismissed from office or discharged from employment and, upon
conviction thereof, shall be fined not more than $10,000 or imprisoned not
more than 5 years, or both. The court may in its discretion award out of the fine
so imposed an amount, not in excess of one-half thereof, for the use of the informer,
if any, who shall be ascertained by the judgment of the court. The court also shall
render judgment against the said officer or employee for the amount of
damages sustained in favor of the party injured, to be collected by execution.

If you are willing to put yourself in this perilous legal jeopardy, that is your choice.
Additionally, IRS “Publication 1” (Catalog number 64731 W) states:

THE IRS MISSION

Provide America’s taxpayers top quality service by helping them understand and
meet their tax responsibilities and by applying the tax law with integrity and
fairness to all.

Since the position of the IRS continues to be one of non-response to my numerous and
repeated requests for information and clarification and now includes the complete
disregard for my legal filings of returns, it seems rather obvious that the IRS’ position
clearly lacks “integrity and fairness” and does not help me in any way to understand the
fact or facts in this matter that you allege to be “frivolous”. This course of action by the
IRS does not afford me my right to equal protection under the law, nor does it afford me
the right of due process under fundamental, common, equity, or other law. In fact, the
generic form Letter 3176 is overzealous, excessively aggressive, and obviously meant to
be intimidating. With these desperate tactics, by which is undertaken a deliberate attempt
to mislead and intimidate lawful claimants, you and your employer are perilously close to
outright fraud and other felonious actions.

IRM 13.1.15.2 (10-31-2004) states, in part:

The Taxpayer Bill of Rights II defines three elements of misconduct:
1. An employee violated a law, regulation, or rule of conduct...
2. An IRS system failed to function properly or within proper time
frames...
3. An IRS employee treated a taxpayer inappropriately in the course
of official business.
For example, rudeness, overzealousness, excessive
aggressiveness, discriminatory treatment, and intimidation.

I firmly believe that all three of these elements are present in my case.
". Casé 3:16-cv-05116-BHS Document 29 Filed 11/04/16 Page 15 of 25

Furthermore, you have been hereby directly notified of these transgressions. It seems
you now have a choice to make. May I remind you that IRM 13.1.15.3 (10-31-2004)
states, in part:

RRA9Y$8 section 1203 — Employee Responsibilities
Employees should have a basic understanding of the conduct
provisions of section 1203 as outlined in Document 11403 (05/99), RRA98

section 1203 Procedural Handbook,_You are also responsible for reporting
allegations involving potential section 1203 violations to your manager

for forwarding to the appropriate officials. Depending on the nature of
the allegations, these officials may be management or TIGTA.

The employee’s manager is required to complete Form 12217 Section 1203 Allegation
Referral Form, Exhibit 13.1.15 — 1, and determine if the case should be referred to
TIGTA or management. Except for EEO and tax related issues, allegations relating to all
Executives, Senior Level Managers (paybanded and supervisory GS-15s) and Criminal
Investigation Employees must be directly referred to TIGTA....

I can assure you that any and all violations of statute and/or lawful procedure on your
part and/or the part of your superiors and associates in this matter will be made known to
the “IRS Commissioner’s Complaint Processing and Analysis Group” and all other
recourse under the law will be used to its fullest extent.

Furthermore, each and every “frivolous” or other penalty that is imposed against me
without any basis in law and fact will be considered an “extortion or willful oppression
under color of law” -- a violation of 26 USC 7214(a)(1).

Finally, IRS Publication 1 (Catalog number 6473 W) states, in part:

The law generally provides for interest on (my) refund if it is not paid within 45 days
of the date (I) filed (my) claim for refund.

Any further delays in processing my lawful claims for refunds of overpayment of
taxes for years1995, 1996, 1997 and 2003, after said 45 days, is now, and will be,
considered intent on your part to defeat the application of the heretofore stated provisions
of law, as well as all other provisions of Title 26 and the statutes behind them pertinent to
this matter, thus causing a failure in the performance of the duties of your office or
employment — a violation of 26 USC 7214 (a)(3).

You have 30 days from the date of receipt of this letter — as determined by the date
stamped or written on the return receipt of this certified mailing — to fully and
completely meet the following demands:

1.) That a full and complete refund of all overpayments made to the
IRS, as substantiated by my1995,1996.1997, and 2003 tax returns, be
processed and issued immediately. The amounts of these
overpayments are as follows:

Tax Year 1995= $4,410.97 PLUS INTEREST
Tax Year 1996= $2,903.93 PLUS INTEREST
Tax Year 1997= $8,140.66 PLUS INTEREST
Tax Year 2003= $8,393.30 PLUS INTEREST
- Case 3:16-cv-05116-BHS Document 29 Filed 11/04/16 Page 16 of 25

It is my contention that the statutory period of 3-years from the date a tax
return is due for refunds to be issded dees not apply in this case since the IRS has
continually refused to acknowledge or respond to my legitimate yequests for
information since early1995, thus delaying the timely filing of my returns. I have
voluminous evidence of this continued lack of response that I will be happy to
introduce into legal proceedings, should that be required.

2.) That any and all penalties (including those for late filing, paying late,
Civil Penalties, etc.) AND any interest associated with any amounts
owed to the IRS be removed due to the IRS’ repeated failure to
respond to any of my legitimate requests for advice and clarification
on specific issues relating to the tax laws since early in1995.

3.) That I receive full, complete, detailed and accurate statements from
the IRS showing all taxes for each of these years are now paid in full
and that each of my accounts shows a ZERO balance being owed.

4.) That the Notices of Federal Tax Liens filed fraudulently and
erroneously by the IRS against my assets and property be publicly
removed immediately and that I receive notice from the IRS of such
release of lien.

You are hereby notified that, should you and the IRS continue to ignore my lawful and
legitimate demands or continue your obvious delay tactics and willful evasion of the law,
I will take action under authority of every applicable provision of law afforded me. This
includes, but may not be limited to:

1.) Referral of the evidence of crimes committed against me under the color
of law (such as mail fraud, willful oppression, extortion, fraud,
malfeasance, subornation of perjury, tampering with a witness in official
proceedings, etc.) to a Federal Grand Jury,

2.) Seeking a writ of mandamus from the appropriate Court of competent
jurisdiction ordering the IRS to do what the law requires,

3.) Filing a criminal lawsuit in the appropriate Court of competent
jurisdiction naming you personally, other employees of the IRS who have
conspired to commit and abetted in crimes against us under the color of
law, as well as the IRS directly.

This is my final request and demand for the IRS and its employees to abide by the
law.

   

ever C, Clift
2829 SW 342" Place
Federal Way, Washington 98023

Enl: 3176 letters for 1995,1996,1997,2003
Case 3:16-cv-05116-BHS Document 29 Filed 11/04/16 Page17of25 .~- ~ |...

 

 

 

 

 

Mm Complete items 1, 2, and 3. Also complete A. Signature
item 4 if Restricted Delivery is desired. x CI Agent
@ Print your name and address on the reverse C) Addressee ;
so that we can return the card to you. . j inted |} : f Delivery |
Mi Attach this card to the back of the mailpiece, B. Received by (Printed Name) |G. Date of Delivery |
or on the front if space permits.
f - = =isdelivery address different from item 1? CI Yes
\ 1, Article Addressed to: EUYES:lenférdellvery address below: [1 No

 

 

 

 

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2. Article Number
(Transfer from service label) Uf AIR -O. ($0 0002. l C7 Od x

PS Form 381 1, February 2004 Domestic Return Receipt

 
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Exhibit |
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EXHIBIT 3

STEVEN C. CLIFT

11220 — 897" AVE. CT. EAST
PUYALLUP, WA 98373
253-312-8826

 
Case 3:16-cv-05116-BHS Document 29 Filed 11/04/16 Page 19 of 25
Department of the Treasury September 25, 2009

Internal Revenue Service
Fresno, Ca 93888-0010

Ref: Notice CP15, Dated August 10, 2009
Tax Year 1995 & Civil Penalty for Frivolous Tax Return

Dear Automated Collection System

I have tried to clear this misunderstanding with the pass four letters. Let me once
again state that my 1040 filed is correct and in no way is it Frivolous.

To state that my Return is Frivolous it must come under the following six items as
listed by the Office of Chief Counsel in Memorandum 200107035.

Internal Revenue Service Office of Chief Counsel Memorandum 200107035:

"Section 6702 of the Code was enacted by the Tax Equity and Fiscal Responsibility Act of
1982, P.L. 97-248, 96 Stat. 324. According to the Senate Report, S. Rep. No. 97-494, Vol. i,
97th Cong., 2d. Sess. 277 (1982), the penalty is intended to attack a variety of tax protest
activities including:

(1) irregular forms 1040 not in processible form because of altered or incorrect descriptions of
line items or other provisions;

(2) references to spurious constitutional arguments instead of required completion of a tax
form;

(3) forms on which there is incomplete information to calculate tax liability;

(4) presentation of information which is clearly inconsistent, such as the listing of only a few
dependents by a person who claims 99 exemptions;

(5) “gold standard “ or “war tax” deductions; and

(6) deliberate use of incorrect tax tables."

and,

"Virtually all of the authority for treating a signed Form 1040 as a nullity relies upon the fact
that the taxpayer refused to provide any information pertaining to his or her income, or
provided de minimis income information and accompanied the purported return with tax
protestor type arguments."

My return contains done of the above mentioned items.

As noted below; My Return contained all the information required to calculate tax
liability.

Internal Revenue Service Office of Chief Counsel Memorandum 200114033:

"{T}]he Ninth Circuit Court of Appeals held in United States v. Long, 618 F.2d 74 (9th Cir.
1980), that a return containing zeros on most of the lines and signed by the taxpayer without
modifications, additions, or deletions to the attestation statement [such as to render the
affirmation as to what is reported on the return in doubt] would be sufficient to calculate tax
liability, and, therefore, constitute a valid return.”
Case 3:16-cv-05116-BHS Document 29 Filed 11/04/16 Page 20 of 25

Also note that I gave no spurious constitutional objections as noted below:

[{Tjhe tegislative history of § 6702... ... indicates that the frivolous return penalty was meant to
apply to returns “in which many or all of the line items are not filled in except for reference to
spurious constitutional objections.” S.Rep. No. 494, 97th Cong., 2d Sess. 278, reprinted in
1982 U.S.Code Cong. & Ad.News 781, 1024. Leogrande v. U.S. 811 F.2d 147 C.A.2 (N.Y.)
(1987)

Correct your records and Process my 1040EZ for 1995 and
refund the amount that was withheld with interest and vacate
the illegal Civil Penalties shown.

Sincerely

Steven C. Clift
31905 34" PL SW
Federal Way, Wa 98023
_” / Case’3:16-cv-05116-BHS Document 29 Filed 11/04/16 Page 21 of 25 [7

CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE
Certified Mail 7007 1490 0003 8572 7477

1995,1996
2003,2004
2005,2006
. 2007,2008

IRS May 2, 2011

ACS SUPPORT

P.O.BOX 24017

FRESNO, CA 93779-4017

Your Letter 1058

Case Reference Number 7895957943
Your letter received April 30, 2011

Dear ACS Person that reads this Conditional Acceptance

| am writing in response to your unsigned letter 1058 in which you are attempting to coerce me into
accepting your illegal declaration. | can assure you that | will never be cowed or intimidated by brazen
threats.

| have responded to every contact from the IRS, It is not me that has not responded, it is the IRS that has
delayed and impeded the administration of the Federal Tax Laws by refusing to acknowledge my
lawfully filed Form 1040’s.

| will conditionally accept the IRS contract and will pay any additional taxes for which | am lawfully liable
upon the IRS’s Presentment of the following:

1.Presentment of the taxable activity which | am alleged to have engaged in.
2.Proof of claim that | did not file a true and correct 1040 for the years in question.

3.Proof of claim that | did not accurately account for all receipts under the excise laws of
the United States.

4. Proof of claim that the IRS has sworn, first-hand testimony of receipts | received that contradict my
sworn first-hand testimony in my 1040 filings.

5.Proof of claim that the IRS has factual knowledge of my private finances superior to my own.
6. Proof of claim that | have violated a known legal duty.
7. Proof of claim that the IRS has a true and correct record of assessment that shows the signature of

the assessment officer, so that | may determine for himself the assessment’s complete compliance
with all related provisions of law, and verify or refute his personal liability.

You have thirty (30) days from receipt of this Conditional Acceptance to respond point by point via a
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sworn affidavit, under your full commercial liability. The IRS's presentment and/or proof of claim must
be certified, and hand signed under penalty of perjury by a properly authorized/delegated IRS agent
stating that the facts contained therein are true, correct, complete and not misleading.

Mere declarations are an insufficient response, as declarations permit lying by omission and hearsay,
which no honorable draft may contain. If an extension of time is needed to properly answer, please
request it in writing. Failure to respond will be deemed as an inability to prove your claim, thereby
indicating that my 1040 returns are true, correct, and complete and no debt is owed.

| choose not include my phone number as | want all communications in writing.

This letter constitutes constructive notice to the recipient.

Sincerely

    

ao
Steven C Clift

  

Federal Way, WA 98023
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EXHIBIT 4

 
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EXHIBIT 4

Under Internal Revenue Service office of chief counsel memorandum 200107035 we find
an explanation and rules for making determination of a frivolous return:
Sec. 6702 of the code was enacted by the Tax Equity and Fiscal Responsibility Act of 1982, P. L
. 97 — 248, 96 Stat.324. According to the Senate Report, S. Rep. Number 97 — 494, volume 1 97"
Congress, 2nd session 277 (1982), the penalty is intended to attack a variety of tax protest

activities including:

(1) irregular forms 1040 not in processable form because of altered or incorrect descriptions
of line items or other provisions;

(2) reference to spurious constitutional arguments instead of required completion of a tax
form;

(3) forms on which there is incomplete information to calculate tax liability;

(4) presentation of information which is clearly inconsistent such as the listing of only a few
dependents by person who claims 99 exemptions;

(5) “goal standard or “war tax ” deductions; and

(6) deliberate use of incorrect tax tables.”

Since the IRS never complied with the process set out to determine a “frivolous claim” as is
pled, we find the burden of prove there were frivolous claims made passes to the IRS.

I must quote an Internal Revenue Service office of chief counsel in a memorandum

200114033:

“the Ninth Circuit Court of Appeals held in United States the long 618 F.2d 74 (9" Cir

1980), that a return containing zeros on most of the lines and signed by the taxpayer without

modification, additions, or deletions to the ascertainable statement [such as to render the

affirmation as to what is reported on the return and doubt] would be sufficient to calculate

tax liability, and, therefore, constitutes a valid return.”

Exhibit 4

Page 1 of 2 STEVEN C. CLIFT
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253-312-8826

 
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If our suspicions are true that the determination that the return was frivolous was based on the

zeros on the return then of course the Ninth Circuit Ct. had no difficulty in determining that that

return that it was looking at was not frivolous.

Exhibit 4
Page 2 of 2

STEVEN C. CLIFT

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